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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

FENSTER FAMILY PATENT HOLDINGS,
INC., ELSCINT LTD., and ELSCINT

INC.,
Plaintiffs,

v. : Civil ACtiOn NO. Oé-OOBB-JJF

SIEMENS MEDICAL SOLUTIONS USA,
INC., SIEMENS MEDICAL SYSTEMS,
INC., SIEMENS CORPORATION, and
SIEMENS AG,

Defendants.

 

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MEMORANDUM OPINION

September 20, 2005
Wilmington, Delaware

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F§£r>l;:@£n\is&ict Judge.“ §§ `

Presently before the Court are (1) Defendant Siemens' Motion For
An Expedited Briefing Schedule (D.I. 69); (2) Defendant Siemens'
Motion For A Protective Order with Respect TO Plaintiffs' Rule
30(b)(6) Deposition Notice (D.I. 70); (3) Defendants’ Combined
Emergency Motion Pursuant To The Rule 16 Scheduling Order To: (1)
Limit The Number Of Asserted Claims, And (2) Modify The Existing
Schedule (D.I. 71); (4) Defendants’ Rule 37 Motion To Compel
Discovery (D.I. 72); (5) Plaintiffs’ Motion TO Compel Responses To

Interrogatory NOS. 9 And 10 And Alleged Joint Defense Communications

(D.I. 74); (6) Plaintiffs' Motion TO Compel 30(b)(6) WitneSS (D.I.
75); (7) Plaintiffs’ Renewed Motion For AcceSS TO Defendants’
Intranet (D.I. 80); (8) Plaintiffs' Revised Motion To Compel

Discovery Responses With Respect To Sienet Product (D.I. 84);

(9) Plaintiffs' Motion TO Quash And/Or In The Alternative For
Protective Order In Response To Defendants; Notice Of Deposition And
Subpoena Duces Tecum Issued On March 16, 2005 TO General Electric
Company And General Electric Medical Systems, Inc. (D.I. 101); (10)
Plaintiffs’ Motion To Compel Deposition Testimony Of MSSrS. Ruggiero
And Keller (D.I. 107); (11) Plaintiffs’ Motion To Preclude Defendants
From Relying On Expert Testimony (D.I. 113); and (12) Siemens’
Conditional CrOSS-Motion TO Preclude Plaintiffs From Offering Expert

Testimony On Infringement (D.I. 114).

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BACKGROUND

This is a lawsuit filed by Fenster Family Patent Holdings, Inc.
(“Fenster”), Elscint Ltd., and Elscint, Inc. (collectively,
“Fenster”) against Siemens Medical Solutions USA, Inc., Siemens
Medical Systems, Inc., Siemens Corporations, and Siemens AG,
(collectively, “Siemens”). Fenster asserts eight unrelated patents

against Siemens: U.S. Patent Nos. 4,555,728 (“the ‘728 patent”);

4,693,864 (“the ‘864 patent"); 4,459,990 (“the ‘990 patent”);
4,685,146 (“the ‘146 patent”); 4,644,398 (“Che ‘398 patent”);
4,595,949 (“the ‘949 patent”); 4,590,518 (“the ‘5l8 patent’);
4,777,620 (“the ‘620 patent”). Fenster seeks declarations of

infringement, willful infringement, inducement of infringement, and
contributory infringement plus damages and permanent injunctive
relief. Fenster alleges that each of the patents in suit is owned by
Elscint Ltd. and exclusively licensed to Fenster Family Patent
Holdings, Inc.

The technology at issue is generally referred to as Digital
Angiography and Digital Fluoroscopy (“DF”). DF refers to X-ray
diagnostic apparatus and techniques that are used to measure
cardiovascular function.

Plaintiff Fenster Family Patent Holdings, Inc. is a Delaware
corporation with its principal place of business in Wilmington,
Delaware. Plaintiff Elscint Ltd. is an Israeli Company located in
Tel Aviv, and is the owner of the patents-in-suit. Plaintiff Elscint

Inc. is a Massachusetts corporation, and a wholly owned U.S.

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subsidiary of parent company Elscint Ltd.

Defendant Siemens Medical Solutions USA, Inc. is a Delaware
corporation, with its principal place of business in Malvern,
Pennsylvania. Fenster alleges that Siemens Medical Solutions USA,
Inc. is a wholly owned subsidiary of Defendant Siemens AG.

Defendant Siemens Medical Systems, Inc. is a Delaware
corporation with its principal place of business in Iselin, New
Jersey. Fenster alleges that Siemens Medical Systems, Inc. is a
wholly owned subsidiary of Defendant Siemens AG.

Defendant Siemens Corporation is a Delaware corporation with its
principal place of business in New York, New York. Fenster alleges
that Siemens Corporation is a wholly owned subsidiary of Defendant
Siemens AG and is the parent corporation of Siemens Medical Solutions
USA, Inc. and Siemens Medical Systems, Inc.

Defendant Siemens AG is organized under the laws of Germany,
with its principal place of business in Munich, Germany. Fenster
alleges that Siemens AG includes a medical technology business unit,
Siemens Medical Solutions (Germany).

Fenster filed its Complaint (D.I. l) on January 20, 2004. On
February 6, 2004, Fenster filed a First Amended Complaint (D.I. 12).
On July 7, 2004, the Court entered a Rule 16 Scheduling Order,
whereby Fact Discovery ended on March 15, 2005, and the deadline for
filing case dispositive motions was August 12, 2005. There is a
Markman hearing scheduled on October 3, 2005, a Pretrial Conference

scheduled On November lO, 2005, and a jury trial scheduled to begin

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on January 17, 2006.

On November 22, 2004, the Court held a discovery hearing at
which the Court granted Siemens' Motion For Bifurcation (D.I. 38)
with regard to damages and denied it with regard to willfulness.

At the November 22 hearing, the Court also ruled on a Revised Motion
To Compel (D.I. 46-1) filed by Fenster denying access to the Siemens’
electronic database or Intranet and granting access to documents
related to products wherein a cardiac diagnostic image from an X-ray
is received and processed.

In compliance with the Scheduling Order, on February 8, 2005,
Fenster identified 90 patent claims and listed 49 accused products.

DISCUSSION

The motions pending in this case can be divided into two
Categories (l) motions related to the scope of discovery, and (2)
other discovery motions.

I. Motions Related To The Scope Of Discovery

At the heart of most of the discovery related motions is
Siemens' contention that the 90 claims and 49 accused products
asserted by Fenster are unreasonable in number and that Siemens
cannot prepare its defense or maintain the current case schedule
under these conditions. Fenster, in turn, seeks to compel Siemens to

respond to its discovery requests.

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A. Defendants' Motion For An Expedited Briefing Schedule (D.I.
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By its Motion, Siemens requests an order expediting the briefing
schedule with regard to Siemens' Combined Emergency Motion Pursuant
To The Rule 16 Scheduling Order to limit the number of claims
asserted and modify the existing schedule. In response, Fenster
contends that Siemens has failed to diligently pursue its discovery
and has impeded Fenster from conducting discovery. Specifically,
Fenster contends that Siemens has failed to notice depositions, has
not pursued publicly available foreign patent documents, has refused
to present any witnesses in response to Fenster’s 30(b)(6) notice for
February 14, 2005, and has produced documents long after the December
2004 date by which the Court wanted document production to be
completed.

Because this motion has been pending for several months, the
Court will deny Defendants' Motion For An Expedited Briefing

Schedule.

B. Defendants' Combined Emergency Motion Pursuant To The Rule

16 Scheduling Order To: §1) Limit The Number Of Asserted
Claims. And (2) Modifv The Existing Schedule (D.I. 71)

By its motion, Siemens requests an order limiting the number of
claims and modifying the existing schedule. Specifically, Siemens
contends that allowing Fenster to assert 90 claims is unreasonable.
Further, Siemens contends that, because Fenster expanded the scope of
this litigation five weeks before the close of fact discovery and
eleven weeks before the date for expert reports on validity, Siemens

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is unable to prepare its defenses. Siemens further contends that
Fenster has impeded discovery by refusing to make all inventors
available for depositions and failing to produce key documents (the
subject of a separate rule 37 motion). Siemens requests that the
current schedule be modified as follows: fact discovery will end
eight weeks after Fenster identifies a reasonable number of asserted
claims and a reasonable number of accused products; opening expert
reports will be due four weeks after the close of fact discovery
(instead of six weeks under the current scheduling order); rebuttal
expert reports would be due four weeks after opening expert reports;
and the remainder of the schedule be adjusted accordingly.

In responser Fenster contends that the number of asserted claims
should not be further limited because Fenster will likely limit them
after full discovery. Further, Fenster contends that the Court
indicated at the November 22, 2004, discovery hearing that the
parties would not lose their trial date. Fenster also contends that
Siemens has not noticed a single deposition, and has failed to
provide a 30(b)(6) witness.

The Court agrees with Siemens that Fenster’s number of asserted
claims is unreasonable. The Court would prefer the parties to
address such issues among themselves, but when that does not happen;
the Court must intervene. The Court finds that Fenster should be
limited, at this juncture, to ten (10) claims and five (5) products

asserted. This decision is obviously arbitrary; however, it is

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appropriate from the viewpoint of the typical patent litigation.
Because a modification of the Scheduling Order is required as a
result of the Court’s decision, the Court will order the parties to
submit a proposed, revised scheduling order for the Court’s

consideration.

C. Defendants’ Motion For A Protective Order With Respect To
Plaintiffs' Rule 30 b 6 De osition Notice D.I. 70

By its Motion, Siemens contends that Fenster’ Rule 30(b)(6)
deposition notice is overly broad and unduly burdensome because it
designates “all versions” of 49 different products as “Accused
Products,” and seeks testimony on a multitude of topics (36 subject
matter categories) for each of them. As relief, Siemens seeks the
entry of a protective order. Based on the Court’s decision reducing
the number of asserted claims, the Court will deny this motion as
moot.

D. Siemens’ Rule 37 Motion To Com el Discover D.I. 72

By its motion, Siemens contends that Fenster has failed to
produce: file histories of foreign counterpart applications, and
related documents; documents relating to conception, reduction-to-
practice, and best mode, in response to Document Requests No. 14 and
15; complete answers to Siemens' Interrogatories 3 and 4, which ask
for information relating to Siemens’ laches defense and the priority
dates for the patents-in-suit. In response, Fenster contends that
Fenster's foreign file histories are publically available, that

Fenster has no other documents that are responsive to Document

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Requests 14 and 15, and that Fenster has fully responded to
Interrogatory Nos. 13 and 14. Because the Court has limited the
number of asserted claims and accused products and will modify the
schedule in this case, the Court will deny this motion with leave to

renew .

E. Fenster' Motion To Compel Responses To Interroqatorv Nos. 9
And 10 And Alleqed Joint Defense Communications (D.I. 74)

By its motion, Fenster moves to compel Siemens to respond to
Interrogatory Nos. 9 and 10 of Fenster' Second Set of
Interrogatories. Specifically, Fenster seeks the dates of the first
and last sales of each of the identified products. In response,
Siemens asserts that these interrogatories seek information
duplicative of that requested in Fenster’s Interrogatory Nos. 1 and
2.

In reply to Siemens’ argument, Fenster contends that
Interrogatory Nos. 1 and 2 requested that Siemens identify each model
and all components made, used, sold, offered for sale and/or imported
since 1994. Fenster contends that identification of the models and
components sold since 1994 is different from identification of the
first and last dates of sale.

Because the Court has limited the number of asserted claims and
accused products and will modify the schedule in this case, the Court

will deny this motion with leave to renew.

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F. Fenster’s Motion To Compel 30(b)(6) witness (D.I. 75)
Because the Court has denied as moot Siemens' Motion For A
Protective Order With Respect To Fenster’s Rule 30(b)(6) Deposition
Notice (D.I. 70), the Court will likewise deny as moot Fenster's

Motion To Compel 30(b)(6) Witness.

G. Fenster’s Motion To Preclude Siemens From Relving On Expert
Testimonv (D.I. 113)

By its motion, Fenster moves to preclude Siemens from relying on
expert testimony because Siemens failed to serve its expert reports
prior to April 22, 2005, the date specified in the Scheduling Order.
In response, Siemens contends that Fenster’s designation of 90
asserted claims made it impossible for Siemens’ experts to conduct a
meaningful validity analysis. Because the Court has limited the
number of asserted claims and accused products and will modify the
schedule in this case, the Court will deny this motion as moot.

H. Siemens’ Conditional Cross-Motion To Preclude Fenster From
Offerin Ex ert Testimon On Infrin ement D.I. 114

Siemens' Conditional Cross-Motion To Preclude Fenster From
Offering Expert Testimony On Infringement (D.I. 114) is related to
Fenster's Motion To Preclude Siemens From Relying On Expert Testimony
(D.I. 113). Because the Court has limited the number of asserted
claims and accused products and will modify the schedule in this

case, the Court will deny this motion as moot.

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II. Other Discovery Motions

A. Fenster's Renewed Motion For Access To Siemens‘ Intranet

§D.I. 801

By its motion, Fenster renews its motion to compel Siemens to
provide Fenster with access to its corporate Intranet or other
electronic databases or networks. The Court denied Fenster's
original motion on November 22, 2004, stating that the Court based
its decision in part on Siemens' representation that the production
would be in a searchable electronic format. However, Fenster
contends that two developments warrant reconsideration of this issue.
First, Fenster contends that Siemens provided access to documents in
two warehouses, which requires document-by-document review of over a
million pages of documents without the benefit of any type of
electronic searching. Second, Fenster contends that Siemens produced
other large batches of documents in electronic format, but many of
these documents are not in searchable format.

In response, Siemens contends that Fenster's motion is a motion
for reconsideration, not a renewed motion. Siemens contends that it
will produce the specific documents that Fenster has previously
identified as non-searchable in “searchable form.” Further, Siemens
contends that some older documents are only available on microfilm,
are not on the Intranet, and that Siemens fulfilled its obligations
under the Federal Rules by producing them in the format in which they

are maintained.

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In a letter to the Court (D.I. 106), Fenster cites deposition
testimony of a Siemens' employee wherein the employee states that it
would be easy to determine whether there were any documents from Pie
Medical on Siemens’ Intranet. Fenster contends that Siemens has not
produced any documents from Pie Medical and that this testimony is
new evidence that shows Fenster's motion for access to Siemens'
Intranet should have been granted.

The Court finds that Fenster has not demonstrated an intervening
change in controlling law, the availability of new evidence that was
not available when the Court issued its first Order, or the need to
correct a clear error of law or fact to prevent a manifest injustice.
Accordingly, the Court will deny this motion.

B. Fenster’s Revised Motion To Compel Discoverv Responses with
Respect To Sienet Product (D.I. 84)

By its motion, Fenster seeks production of documents related to
Siemens’ SIENET. Fenster contends that SIENET is a Picture Archiving
and Communication System (“PACS”), which is relevant to this
litigation. Fenster acknowledges that Siemens' responses to
Fenster's most recent discovery requests were not due until March 7,
2005, after Fenster filed its motion.

In response, Siemens contends that SIENET comprises three
components: patient management, long-term image archiving (known as
PACS), and image post processing. Siemens contends that SIENET
allows for the linking of image data from various x-ray imaging
systems and provides data on a patient-based scheme to radiologists.

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Further, Siemens contends that SIENET has a component with PACS
functionality that is merely used in part for long-term storage and
archiving. Because the x-ray imaging systems function independently
of SIENET and discovery is limited to digital x-ray imaging systems,
Siemens contends that SIENET is outside the scope of discovery.
Siemens further contends that SIENET is capable of operating with a
host of x-ray systems (such as MRI, CT scanning, ultra-sound, and
nuclear medicine) that are outside the scope of this litigation.

The Court will deny Fenster's motion on two grounds. First, the
Court concludes that this motion was filed prematurely, before
Siemens’ discovery responses were due. Second, it appears to the
Court that SIENET is not a digital x-ray imaging system, but rather a
way to knit such a system together with other components.
Accordingly, the Court concludes that SIENET is outside the scope of
discovery.

C. Fenster’ Motion To uash And Or In The Alternative For
Protective Order In Response To Siemens' Notice Of
Deposition And Subpoena Duces Tecum Issued On March 16L
2005 To General Electric Companv And General Electric
Medical Svstems. Inc. (D.I. 101)

By its motion, Fenster seeks to quash Siemens’ notice of
deposition with regard to a Rule 30(b)(6) Deposition of General
Electric Company and General Electric Medical Systems, Inc.
(collectively, “GE”) and a subpoena duces tecum, both issued on March

16, 2005, after the close of fact discovery.

In response, Siemens contends that because its counsel

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represents GE in unrelated matters, counsel could not take third-
party discovery from GE without obtaining a waiver from GE of any
conflict of interest that may be presented by taking such discovery.
Siemens contends that Fenster stood in the way of Siemens' attempts
to obtain the waiver. On March 9, 2005, GE informed Siemens' counsel
that it would not waive the conflict. Thus, Siemens had to retain
Other counsel, and served the subpoena less than a week after GE's
refusal. Siemens also contends that a decision by the Court to
modify the existing schedule would moot Fenster’s objections to the
GE subpoena.

Because the Court has limited the number of asserted claims and
accused products and will modify the schedule in this case, the Court
will deny this motion.

D. Fenster’ Motion To Compel Deposition Testimonv Of Mssrs.
Ruqqiero And Keller (D.I. 107)

By its motion, Fenster contends that it deposed two Siemens
Medical Solutions employees, Tom Ruggiero on April 6, 2005, and Mike
Keller on April 7, 2005, Fenster contends that, during each
deposition, counsel for Siemens instructed each witness not to
testify regarding a device called “AXIS.” Fenster moves to compel
further deposition testimony of Messrs. Ruggiero and Keller with
regard to AXIS pursuant to Federal Rule of Civil Procedure 26(b)(1}
and 37(a)(2). Fenster contends that Siemens' counsel‘s instructions
not to answer questions about AXIS were improper because the line of

questioning did not involve a matter of privilege.

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In response, Siemens contends that the design for the AXIS
project has not been finalized and it remains in flux. Siemens
further contends that there is no commercial AXIS product because
Siemens has not yet sought or obtained FDA approval for a commercial
product. Thus, Siemens contends that discovery with regard to AXIS
is not reasonably calculated to lead to discovery of relevant
information.

The Court limited the scope of discovery in this case to
digital x-ray imaging systems. In its briefing, neither party
addresses whether AXIS is a digital x-ray imaging system, but it
seems to be one that is still in the stages of research and
development, Accordingly, the Court will deny this motion, because
it is directed to a yet to be developed product which appears to be
outside the scope of discovery set by the Court.

CONCLUSION

For the reasons discussed, the Court will (1) deny Defendant
Siemens’ Motion For An Expedited Briefing Schedule (D.I. 69); (2)
deny as moot Defendant Siemens’ Motion For A Protective Order with
Respect To Plaintiffs’ Rule 30(b)(6) Deposition Notice (D.I. 70); (3)
grant Defendants' Combined Emergency Motion Pursuant To The Rule 16
Scheduling Order To: (1) Limit The Number Of Asserted Claims, And (2)
Modify The Existing Schedule (D.I. 71); (4) deny with leave to renew
Defendants' Rule 37 Motion To Compel Discovery (D.I. 72); (5) deny

with leave to renew Plaintiffs’ Motion To Compel Responses To

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Interrogatory Nos. 9 And 10 And Alleged Joint Defense Communications
(D.I. 74); (6) deny as moot Plaintiffs' Motion To Compel 30(b)(6)
witness (D.I. 75); (7) deny Plaintiffs’ Renewed Motion For Access To
Defendants' Intranet (D.I. 80); (8) deny Plaintiffs’ Revised Motion
To Compel Discovery Responses with Respect To Sienet Product (D.I.
84); (9) deny Plaintiffs' Motion To Quash And/Or In The Alternative
For Protective Order In Response To Defendants; Notice Of Deposition
And Subpoena Duces Tecum Issued On March 16, 2005 To General Electric
Company And General Electric Medical Systems, Inc. (D.I. 101); (10)
deny Plaintiffs’ Motion To Compel Deposition Testimony Of Mssrs.
Ruggiero And Keller (D.I. 107); (11) deny as moot Plaintiffs’ Motion
To Preclude Defendants From Relying On Expert Testimony (D.I. 113);
and (12) deny as moot Siemens’ Conditional Cross-Motion To Preclude
Plaintiffs From Offering Expert Testimony On Infringement (D.I. 114).

An appropriate Order will be entered.

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